                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:03CR218-02-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                      ORDER
                                    )
CHRISTOPHER REGINALD HINES,         )
                                    )
                     Defendant.     )
____________________________________)

       This matter is before the court on Defendant’s appeal from the Memorandum and Order

entered by United States Magistrate Carl Horn, III, on April 22, 2005, denying Defendant’s

Motion to Withdraw Guilty Plea. For the reasons stated in open court, the Defendant’s motion is

denied and the Order of the Magistrate is affirmed.

       IT IS THEREFORE ORDERED that defendant’s motion is hereby DENIED.




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                       Signed: August 24, 2005




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